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                          Case No. 23-15992


     In the United States Court of Appeals for the Ninth Circuit


                       FEDERAL TRADE COMMISSION,
                                          Appellant,
                                   v.
                 MICROSOFT CORPORATION, et al.,
                                          Appellee.


                          On Appeal from
                 The United States District Court
               For the Northern District of California
                     Case No. 23-cv-02880-JSC
            The Honorable Judge Jacqueline Scott Corley


AMICI CURIAE BRIEF OF LAW PROFESSORS IN SUPPORT OF
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                     INTEREST OF AMICUS CURIAE

      Amici, identified in the Appendix, 1 are professors at law schools throughout

the United States who teach and write about antitrust law. 2 We have no personal

interest in the outcome of this case. We share an academic interest in guiding the

development of antitrust law in a manner that protects consumers and the

competitive process, while also encouraging innovation.

                       SUMMARY OF ARGUMENT

      Partial input foreclosure is harmful to competition. It enables a supplier to

raise the costs or reduce the quality of inputs provided to its rivals in the

downstream market, making it difficult for rivals to compete. But because the

supplier does not totally cut off its rivals, the supplier can continue to profit from

supplying those rivals with inputs in the upstream market. In short, the supplier

can have its cake and eat it too. Consequently, a partial foreclosure strategy is

generally more profitable than a total foreclosure strategy and the incentives are

accordingly different. But the district court failed to appreciate this difference.



1
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2
  Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), amici certify that no
party’s counsel authored this brief in whole or in part; no party or party’s counsel
contributed money that was intended to fund the preparation or submission of this
brief; and no person other than amici contributed money that was intended to fund
the preparation or submission of this brief. The parties have consented to the filing
of this brief.
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And thus it concluded—wrongly—that just because the merged firm would have

an incentive to continue to supply Call of Duty to its competitors, it would have no

incentive to engage in a partial foreclosure strategy.

                                 ARGUMENT

THE DISTRICT COURT ERRONEOUSLY CONCLUDED THE MERGED
 FIRM’S INCENTIVES TO TOTALLY AND PARTIALLY FORECLOSE
                  RIVALS ARE THE SAME.


    A. Partial Foreclosure Is Generally More Profitable than Total
       Foreclosure.
    Foreclosure by a supplier may be total 3 or partial. Total foreclosure is the

process by which a supplier denies firms that are its “downstream” competitors

access to “upstream” inputs that are critical for those rivals to compete in the

downstream market. Such total foreclosure can raise the rivals’ costs (or reduce

their product quality) and make it difficult for them to compete in the relevant

market. Steven Salop, Invigorating Vertical Merger Enforcement, 127 Yale L.J.

1962, 1975 (2017).




3
  The District Court characterized the two foreclosure strategies as “full
foreclosure” and “partial foreclosure.” See, e.g., FTC v. Microsoft Corp., Case No.
3:23-cv-2880-JSC, 2023 WL 4443412, at *18 (N.D. Cal. July 10, 2023). We use
the phrase “total foreclosure,” which accords with the literature on the topic. See,
e.g., Steven C. Salop, The Raising Rivals’ Cost Foreclosure Paradigm,
Conditional Pricing Practices, and the Flawed Incremental Price-Cost Test, 81
Antitrust L.J. 371, 388 (2017).

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   Partial input foreclosure, in comparison, involves not an outright denial of

access to an input, but rather some more limited action or denial of the input on the

same terms the supplier offers its downstream partners. The supplier can

effectively engage in a form of price discrimination—i.e., increasing the prices

charged to competitors for some inputs or worsening the terms on which it

provides access to other inputs. Alternatively, the supplier can degrade the quality

of the input provided to competitors by, for example, excluding some features or

content but not cutting off the competitors entirely. Another possibility is that the

supplier can delay the availability of the input to customers who are its rivals. See,

e.g., Thomas Krattenmaker & Steven C. Salop, Anticompetitive Exclusion: Raising

Rivals’ Costs to Achieve Power Over Price, 96 Yale L.J. 209 (1986). For example,

in this case, the merged firm could introduce additional content, such as new story

lines, characters, or character accessories (e.g., weapons) on the version of Call of

Duty available on its own Xbox platform before introducing such content on other

platforms or excluding such content from other versions altogether. The merged

firm could also raise the licensing fees paid to make Call of Duty available on

PlayStation and Nintendo. Or the merged firm might continue to give competitors

access to Call of Duty but provide access to other games in the merged firm’s

library that are presently owned by Activision on more costly or otherwise less

favorable terms.



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    Both total and partial foreclosure can be conceptualized as an effective increase

in price to competitors for inputs. But the profitability of each is different. When

a supplier engages in total foreclosure, entirely withholding an input, the price

increase is technically infinite and practically prohibitive; no price the prospective

customer (and competitor) can pay will ultimately secure the input. All customers

would consequently need to shift to a different supplier. In comparison, when a

supplier engages in partial foreclosure, the effective price increase is non-

prohibitive. As a result, some of the supplier’s customers will not switch to

another input provider (nor provide it themselves) but will instead continue to

purchase from the merged firm at the higher price. See Serge Moresi & Steven C.

Salop, vGuppi: Scoring Unilateral Pricing Incentives in Vertical Mergers, 79

Antitrust L.J. 185, 210 (2013).

    Total foreclosure can be profitable for a firm with market power. 4 Id. at 118. It

might make it impossible for a rival to compete. Or it may raise rivals’ costs of


4
  In this case, the District Court concluded that total foreclosure would not be
profitable. See Microsoft, 2023 WL 4443412, at *18. In reaching this conclusion,
it credited evidence offered by Microsoft, post-complaint, that withholding Call of
Duty would be at odds with the merged firm’s financial interests. See id. at *14,
*18-19. This finding importantly hinges on a conclusion that such evidence is
relevant at the liability phase of the litigation. See Appellant Br. at 45-55; see also
Steven C. Salop & Jennifer E. Sturiale, Fixing ‘Litigating the Fix’, 85 Antitrust
L.J. _ (2023) (forthcoming) (arguing that if such post-complaint evidence is to be
considered by the district court, the burden of proof should remain on the merging
parties). In addition, the District Court’s conclusion hinges on the terms of the


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acquiring inputs, placing the input supplier (i.e., the merged entity) at a cost

advantage and making it more difficult for the rivals to compete in the relevant

downstream market. As a result, the merged firm can attract more downstream

customers and earn greater profits in the downstream market.

   Partial foreclosure is similarly profitable. Indeed, it is generally more profitable

than total input foreclosure. See Serge Moresi & Steven C. Salop, vGuppi, supra,

at 208-212. By partially foreclosing rivals, the input supplier can gain a

competitive advantage, thereby attracting more downstream customers and

increasing sales and profits. At the same time, for any downstream customers the

supplier is unable to attract away, the input supplier can continue to earn a profit

from the sale of inputs to these rivals. In general, the merged firm’s profits from

increased sales in the downstream market, together with continuing sales in the

upstream input market, exceed any increased profits the merged firm could earn if

it relied instead on total input foreclosure strategy. See id; see generally Carl

Shapiro, Vertical Mergers and Input Foreclosure Lessons from the AT&T/Time

Warner Case, 59 Rev. Indus. Org. 303 (2021); see also United States v. Sybron



agreements Microsoft entered with its competitors. For example, is the merged
firm bound to provide access to Call of Duty only for a limited time? If so, for
how long? Is it obligated to provide access to new games within the Call of Duty
series? As we are not privy to the terms of these agreements, we cannot evaluate
the District Court’s conclusion. We therefore leave evaluation of this conclusion
to the FTC. See Appellant Br. at 46-55.

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Corp., 329 F. Supp. 919, 928-29 (E.D. Pa. 1971) (“[A]bsolute foreclosure

. . . would not be a profitable course for an integrated [firm] . . . . Yet, there are

many more subtle avenues available to an integrated firm to increase its

manufacturing sales, without risking retail sales.”).

   For example, by engaging in a partial foreclosure strategy of introducing

additional content earlier or only on the Xbox version of Call of Duty, the merged

entity can attract gamers to the Xbox platform. But not all customers will

necessarily purchase an Xbox rather than a competitor console. Some may

purchase or continue to use a PlayStation or Nintendo instead. For these gamers,

the merged entity will continue to earn a profit through licensing fees paid by the

developers of those games. The merged firm’s profits from increased Xbox sales

plus licensing fees for Call of Duty from this strategy of partial foreclosure are not

the same as its profits from increased sales of Xboxes from a simple strategy of

completely depriving Nintendo and PlayStation of access to Call of Duty. Indeed,

the profits from the partial foreclosure strategy are very likely greater.

   B. The District Court Wrongly Equated the Merged Firm’s Incentives to
      Totally Foreclose with Its Incentives to Partially Foreclose.
The District Court, however, erroneously concluded that the merged firm’s

incentives to engage in both foreclosure strategies were the same. See Microsoft,

2023 WL 4443412, at *18. One of the rationales the Court offered for rejecting the



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government’s theory of partial foreclosure was that, because the government’s

theories of harm under total and partial input foreclosure are the same, the

justifications for dismissing the theories must be the same. After concluding that

the FTC had not provided evidence that the merged firm would have the incentive

to engage in a total foreclosure strategy—a conclusion that the FTC challenges, see

Appellant Br. at 29-31, 62-65—the Court stated,

      Anyway, under the FTC’s theory, the goals of full and partial foreclosure are
      the same: move enough PlayStation users to Xbox such that the benefits to
      the combined firm outweigh the costs. If the FTC has not shown a financial
      incentive to engage in full disclosure, then it has not shown a financial
      incentive to engage in partial foreclosure.
Microsoft, 2023 WL 4443412, at *18.

      But the Court’s logic is flawed for at least two reasons. First, the Court

failed to appreciate that the merged firm’s partial foreclosure strategy is constituted

of two sources of profits and, therefore, somewhat different incentives: (1) the

profits from increased sales of Xbox game consoles and (2) the profits from any

continuing licensing fees for access to the merged firm’s games, such as Call of

Duty, by developers who will develop games for the PlayStation and Nintendo

platforms. The Court erroneously focused only on the first. See id. (“move

enough PlayStation users to Xbox”).




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      Second, the Court assumed that the merged firm’s partial foreclosure

strategy would fail for the same reasons the Court concluded its total foreclosure

strategy would fail. See id. (“If the FTC has not shown a financial incentive to

engage in full disclosure, then it has not shown a financial incentive to engage in

partial foreclosure.”) But the Court’s rationale for concluding the merged firm

would have no incentive to engage in a strategy of total foreclosure does not

pertain to a strategy of partial disclosure. The Court found the government’s

theory of total foreclosure unconvincing because of evidence Microsoft offered

that it planned to continue to provide its competitors access to Call of Duty and that

such access was critical to the merged firm’s financial success. See FTC, 2023

WL 4443412, at *13-14. Thus, the Court concluded, Microsoft would have no

incentive to withhold Call of Duty.

      Although Microsoft’s evidence may be in tension with a theory of total

foreclosure, it is not automatically at odds with a theory of partial foreclosure.

Indeed, it is entirely consistent with it. The merged firm can give competitors

access to Call of Duty, but simply degrade the game’s quality; delay the

availability of content, such as updates or special features; or increase the licensing

fees it charges competitors. The government’s theory of partial foreclosure is

therefore consistent with the evidence offered by Microsoft and credited by the

District Court.


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                               CONCLUSION

      For the reasons explained above, we recommend that this Court

overturn the District Court’s conclusion that the FTC has not shown that

the merged firm would have the financial incentive to engage in a strategy
of partial foreclosure.




                                     Respectfully submitted,

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                                        APPENDIX
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